
ELDER, Judge.
By final decree entered February 2, 1995, Edith P. Lane Dots on was awarded a divorce from her husband, Jimmy A. Dotson, on the ground of adultery. The trial court awarded wife a lump sum of $1.8 million, the parties’ lake residence, various personalty, and attorney’s fees. The judge also ordered husband either to provide health insurance for wife or to pay wife the cost of her health insurance, in the amount of $425 per month.
Wife contends the trial court improperly consolidated equitable distribution and spousal support considerations in decid*42ing to award her the $1.8 million lump sum. She argues the trial court erred in failing to designate the lump sum award as either spousal support or as a monetary award and argues that if the award was intended as a monetary award, the support award was insufficient. Alternatively, she argues that if the award was intended as support, the monetary award was inequitable. Wife also contends that in determining the award, the judge (1) failed to consider all of the statutory factors; (2) failed to consider the income husband’s mining business would produce; and (8) erred in assuming wife could support herself from the lump sum award. For the following reasons, we reverse the lump sum award and remand the case for further consideration.
I.
Husband and wife were married in 1961. Throughout the marriage, husband was self-employed in the coal mining industry. Wife was the homemaker and occasionally worked as a substitute teacher when their children were minors. She also kept the books for the parties’ farm, helped with the bookkeeping for husband’s business, and frequently picked up parts for the business.
The evidence proved that the parties ceased having sexual relations nineteen years ago after the wife had an operation. The evidence also proved husband engaged in an adulterous relationship for ten to fifteen years prior to 1992 when wife filed for divorce. The trial court found that the husband’s conduct caused the marriage to end.
In conjunction with the equitable distribution hearing, the parties stipulated that the value of their marital estate was $5,312,150. The marital estate included the parties’ farm, valued between $210,000 and $240,000, the marital home, valued at $55,000, the parties’ lake house, valued at $38,000, and certificates of deposit valued at $3,567,350. The marital estate also included husband’s coal company, the net asset value of which the parties stipulated was $689,267.
*43Evidence proved that the parties filed joint income tax returns and reported income of $988,000 in 1987. Their income declined to $428,000 in 1992. Wife submitted an expense sheet reflecting monthly expenses of $4,218.35 after separation. She also testified that health insurance would cost $425 per month.
The trial court granted wife a divorce from husband on the ground of adultery. In consideration of “the factors ... in [Code] Sections 20-107.3 and 20-107,” the trial court awarded wife a “lump sum” of $1.8 million, the lake residence, and other property. The trial court also ordered husband either to provide wife health insurance or pay her $425 per month, the current cost of her health insurance. The trial court also ordered the parties to establish three large trust funds for their adult children consistent with an agreement the parties made, and granted other relief.
The trial judge stated that in making the award he had considered wife’s health and the effect of husband’s adultery on wife, the lifestyle' the parties maintained, the earnings the parties received from husband’s mining business, and the fact that mining was an unpredictable industry and was not likely to generate in the future the kind of income the parties had enjoyed previously. In declining to grant wife’s motion for reconsideration and make an additional support award, the trial court explained that the lump sum would allow wife both to save a substantial portion of the award and also to earn a return through investment. The trial court stated that the lump sum award was equitable “in construing the spousal support statute and the equitable distribution statute” and further stated, “I was considering ... giving her less lump sum and [making] an award of spousal support, but ... I felt ... it would be better to give her a lump sum of money and let her cut the ties with Mr. Dotson and not be worried about whether her spousal support check is going to be coming in every month. But if I had [made an award of spousal support], I would have lowered the lump sum award.” The trial judge also stated his understanding that the court was *44not required to distinguish whether its lump sum award was intended as support or as distribution.
II.
“A distinct difference ... exists between a spousal support award and a monetary award.” Brown v. Brown, 5 Va.App. 238, 246, 361 S.E.2d 364, 368 (1987).
Spousal support involves a legal duty flowing from one spouse to the other by virtue of the marital relationship. By contrast, a monetary award does not flow from any legal duty, but involves an adjustment of the equities, rights and interests of the parties in marital property.
Id. “[T]he amount of support is based on current needs of the spouse ... and the ability of the other spouse ... to pay from current assets.” Williams v. Williams, 4 Va.App. 19, 24, 354 S.E.2d 64, 66 (1987). “The income of the party who is required to pay, however such income is derived or derivable, is the fund from which the allowance [for support] is made.” Ray v. Ray, 4 Va.App. 509, 513, 358 S.E.2d 754, 756 (1987). “The ‘equitable distribution’ statute, however, is intended to recognize a marriage as a partnership and to provide a means to equitably divide the wealth accumulated during and by that partnership.” Williams, 4 Va.App. at 24, 354 S.E.2d at 66.
Under the statutory scheme, the trial court must consider its equitable distribution award in fashioning a support award, but consideration of spousal support is improper when making an equitable distribution award. See Code § 20-107.3(F) (monetary award must be determined without regard to support); Code § 20-107.1(8) (in determining amount of support award, court must consider, inter alia, provisions made with regard to the distribution of marital property); see also Kaufman v. Kaufman, 7 Va.App. 488, 493-94, 375 S.E.2d 374, 377 (1988) (court cannot determine parties’ relative needs and abilities until after it determines the monetary award).
The trial judge’s initial opinion letter and the final decree state that the judge considered both the statutory factors relating to the determination of a support award, Code § 20-*45107.1, and the factors relating to the determination of a monetary award, Code § 20-107.3(E), in determining the amount of the lump sum. The judge further stated that he gave her a lump sum so that she would “not be worried about whether her spousal support check is going to be coming in every month.” It is apparent that the trial judge either considered support as a factor in determining the equitable distribution award or lumped together the equitable distribution award and a lump sum spousal support award, either of which was erroneous. Furthermore, in denying wife’s motion for reconsideration of periodic support, the trial judge stated that he considered awarding wife periodic support and would have granted her a smaller lump sum if he had made separate awards.
In failing to distinguish spousal support from property distribution as required by the statutory framework, the trial court committed reversible error. Treating the property distribution award and spousal support award as one not only reflects an erroneous application of the law but also precludes principled review. Accordingly, the decision of the trial court is reversed and the case is remanded for a redetermination of both the equitable distribution award and the spousal support award.1

Reversed and remanded.


. We do not find it necessary to address the other issues raised because a redetermination of the equitable distribution award will necessarily require the trial judge to reconsider spousal support and the statutory factors relating thereto.

